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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                       CASE NO: 2021-cv-23153

   TROY CLOWDUS,

          Plaintiff,
   v.

   AMERICAN AIRLINES, INC.,

         Defendant.
   _______________________________/

                              MOTION FOR SANCTIONS AND
                          INCORPORATED MEMORANDUM OF LAW

          Pursuant to Federal Rules of Civil Procedure 37, 41 (b), and this Court’s inherent

   authority, Plaintiff TROY CLOWDUS (“Clowdus”) requests this Court impose sanctions on

   Defendant AMERICAN AIRLINES, INC. (“AA”) and its counsel for intentionally disregarding

   its instructions at the May 24, 2022 hearing regarding communicating with unrepresented

   passengers and states as grounds:

          Introduction. Plaintiff’s counsel is not accustomed to moving for sanctions against the

   opposing party or its counsel. He does so reluctantly, and only after carefully reviewing the

   transcript of this Court’s May 24, 2022 hearing and the relevant documents. Unfortunately, the

   events giving rise to this motion leave him little choice, given the Court’s recent admonition

   about communicating with non-party witnesses and the necessity of counsel refraining in any

   way from attempting to influence their testimony. Indeed, it is difficult to say what is more

   disturbing about AA’s conduct: the fact that it blatantly ignores this Court’s warning and

   proceeded to contact a material witness in a manner expressly prohibited by the Court, or that it

   occurred less than one month after the May 24, 2022 hearing.



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                                                FACTS

          1.      The May 24, 2022 hearing.

          As the Court is aware, on May 9, 2022, AA filed an Emergency Motion for Sanctions

   which accused Clowdus counsel, William Woodrow, of threatening and harassing a non-party

   witness in the case. Specifically, AA claimed that Woodrow was “inhibit[ing] and/or

   frustrate[ing] the fair examination of future witnesses” and improperly attempting to influence

   their testimony. [D.E. 34, at 3].

          On May 24, 2022, the Court held a hearing on AA’s motion. At the hearing, Magistrate

   Judge Louis informed the parties that she was troubled by the manner in which counsel were

   improperly attempting, whether subtly or otherwise, to influence the testimony of unrepresented

   witnesses who were not parties to the case. Magistrate Judge Louis did not mince words, stating

   in no uncertain terms that it was improper for any of the lawyers to try and influence the

   testimony of non-party witnesses in communications with them by presenting that party’s

   version of the facts:

          THE COURT: I think it is hard for me to make the observation, or conclude as you
          have, that it was threatening without hearing that from the witness, but it absolutely
          infected them with your version of the facts. The correspondence went so far what was
          beyond appropriate to try and get a witness’s untainted perspective of what actually
          occurred. But then at the deposition, the coaching was outrageous. Just outrageous.
          And so I need both of you to stop, okay? We’re going to get the witness’s testimony
          without prejudicing them one way or the other. . . . I hopefully have conveyed to you the
          problems that I’ve seen, and just my intention to cut a clear path to how we finish the
          discovery in this case that has to be taken . . .


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           Now . . . before I move on. Then with respect to the motion for sanctions, I hope Mr.
           Woodrow has heard me loud and clear about communicating with witnesses no matter
           who they are, and telling them a version of events or advocacy or otherwise. Frankly—
           and this is not a global statement that would apply across every practice and every
           witness. But here communicating any version of the events to them would be improper.

   Transcript of May 24, 2022 Hearing before Magistrate Judge Lauren Louis [D.E. 53] ., p. 4, ll.

   10-20; p. 6, ll. 22-24; p. 21, ll. 9-17 (emphasis added)[“Trans.”]; see also Trans., p. 9, ll. 2-5

   (“So, like right out of the gate, this – this advances an advocacy, for an unrepresented witness

   who’s not a lawyer, and just right out of the gate, the correspondence that I’ve seen has this

   witness in a peculiar, precarious position. And it didn’t get better from there, okay? So when I

   read this, I was, like, we’re going to have to talk in person but then I read the deposition and I

   was, oh, God, we’re all going to have to talk in person”)(emphasis added); Trans., p. 8, ll. 9-11,

   ll. 20-21 (“Well, let me be clearer then in the type of the language that caught my eye, and that I

   thought was problematic . . . .[F]rom your perspective, your e-mail tells him your version of the

   facts. . . .Knowing you have spoken to AA. I’m sure that is not the story they tell . . .

   “)(emphasis added)

           Mr. Kolb, for his part, assured the court that AA would never attempt to influence the

   testimony of witnesses, and that it went out of its way for business reasons to err on the side of

   caution when communicating with passengers:

           Unlike plaintiff’s counsel, we have AA business concerns at issue. We’re not allowed to
           harass our passengers for purposes of litigation. If they don’t want to be involved, we
           back away, so we have to walk carefully in setting up that passenger’s deposition.

   Trans., p. 17, ll. 23-25; p. 24, ll. 1-2.

           Magistrate Judge Louis followed up the May 24, 2002 hearing with a written order on

   discovery on May 31, 2022, in which she noted, among other things, that “[u]nfortunately, the

   transcript [of Mr. Quintana’s deposition] reveals that defense counsel engaged in conduct similar



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   to what it accuses Plaintiff’s counsel of committing, specifically, attempting to influence the

   witness’s testimony.”(emphasis added).

          On June 2, 2022, less than two weeks after the May 24, 2002 hearing and two days after

   Judge Louis issued her written order, Mauricio Fernandez, AA’s local counsel in Mexico, texted

   Mr. Ramirez to ask him to contact him about “an important matter.” Mr. Ramirez did not

   respond. The following day, Mr. Fernandez again texted Mr. Ramirez telling him he needed to

   discuss “an important matter” with him. When Mr. Ramirez again did not respond, Mr.

   Fernandez sent him a third text on June 6, 2022, which read as follows:

          Good afternoon, Juan, I hope you’re well.

          Just as I was telling you a few days ago, my name is Mauricio Fernandez and I represent
          one of the most prestigious Foreign Investment Legal Firms in Mexico. I’m writing you
          because we are correspondents of Buchanan, Ingersoll & Rooney, P.C., an important
          legal firm in Fort Lauderdale, United States, which represents American Airlines in the
          state of Florida. At the request of the legal firm Buchanan, Ingersoll & Rooney, P.C., we
          have been charged with contacting you and requesting with the utmost respect your
          cooperation in carrying out justice for the incident which occurred on an American
          Airlines flight, which I understand you were travelling on, where a person inexplicably
          reacted in a violent manner by throwing their Laptop on one of the flight attendants of
          said flight, who was hurt and filed charges against the person who hurt her. Specifically,
          we would only require you to state as a witness to what you witnessed the day of that
          unfortunate event before the competent authority, whether in person, or by
          videoconference through an official platform used by the Local Authorities in the United
          States. If you choose the first option, we would coordinate with you on the date of the
          hearing and your flight would be entirely paid for(round trip), as well as travel expenses
          and lodging in the City of Miami so you can appear for testimony, or in the case of the
          latter option, it would just be a matter of asking for your time, and only the amount
          necessary to carry out the hearing virtually at a place convenient for you. Please, I ask
          you to consider the options explained above, since it’s important for justice to be done in
          this matter and your testimony is decisive. If you agree and are comfortable with it, we
          could have a videoconference with you with the President of my Law Firm
          Ernesto Velarde and an assistant, so that you can meet us and we can speak calmly about
          this. Thank you in advance for your attention and I hope to hear news from you soon.
          Greetings Mauricio Fernandez

   See Composite Exh. A (emphasis added). On June 7, 2022, AA’s Mexican counsel texted Mr.

   Ramirez a third time requesting again that he contact him. Mr. Ramirez responded that he was

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   uncomfortable being involved in the case and that he was busy. (emphasis added). AA’s

   counsel nevertheless persisted in texting him a fourth time, telling him that they respected his

   decision but that he still wishes to talk to him for five minutes. Id.

          The following day, Mr. Ramirez texted Eduardo Muriel, a private investigator hired by

   Mr. Clowdus, a copy of the text messages he received from AA’s counsel in Mexico. Mr.

   Ramirez had previously spoken with Mr. Muriel about the incident and provided him with a

   signed notarized statement of what he recalled. See Exhs. B & C. He also sent him an e-mail

   describing in detail AA’s attempts to speak with him earlier in the year. See Exh D. The e-mail

   indicates that sometime towards the end of February or early March, a representative from AA

   contacted him and asked him to sign “a document they had drafted, which described the

   altercation caused on flight 1303.” Id. The AA representative asked him what had occurred that

   day. Mr. Ramirez told him that he had not observed Mr. Clowdus assault the flight attendant but

   that he heard Mr. Merino complaining about it. Id. The AA representative asked him if he

   remembered Mr. Merino’s and Mr. Clowdus’s behavior that morning. Mr. Ramirez stated that

   he “never saw aggressive behaviors, nor the blow that is mentioned,” but he could not provide

   more information since he had fallen asleep. Id. The AA representative stated that he would

   send Mr. Ramirez a document “that relates exactly what I had said in our call” for him to review.

   Id. However, when he received the document the following day, it contained things that he had

   not said “nor could testify happened” so he decided not to reply. Id. AA (and presumably Mr.

   Kolb) would both have known about these communications with the witness prior to the May 24,

   2022 hearing when he represented to the Court that “[w]e are not allowed to harass our

   passengers for purposes of litigation” and “[i]f they don’t want to be involved, we back away.”




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          2.      The Witness Statements

          Although AA’s interactions with Mr. Ramirez are by far the most egregious example of

   its attempt to influence the testimony of non-party witnesses because they occurred within days

   of the May 24 hearing, they are not an isolated occurrence. Indeed, Magistrate Judge Louis was

   sufficiently concerned about AAs communications with another passenger, Federico Quintana,

   that after reviewing his deposition transcript, she indicated a desire to review the statements of

   all of the passengers taken by AA in camera before ruling on whether they were work product:

          THE COURT: I’m going to be candid with you here. I’m concerned enough about the
          Quintana issue that I am likely to seek those statements for in camera inspection . . .

          Trans., p. 27, ll. 25; p. 28, ll. 1-2.

          Magistrate Judge Louis was right to be concerned. A review of Mr. Quintana’s

   declaration prepared by AA’s counsel and the drafts that preceded it call into question whether

   AA attempted to influence Mr. Quintana’s testimony. In the first unsigned draft of Mr.

   Quintana’s declaration prepared by AA (AA00129-131)[Exh. E], which was based on an

   interview with him, the draft states: “Additionally, due to this diagonal angle, I could also

   observe the Male Passenger’s face and facial expressions as he spoke with flight attendant

   during these interactions. Although I could not hear what was being discussed between the Male

   Passenger and the flight attendant, I easily observed the Male Passenger’s body language and

   facial expressions which showed, that as the interactions progressed, the Male Passenger was

   growing more and more agitated.” (emphasis added). However, in the second draft and the

   declaration he signed, (AA00126-128, 136-138)[Exh. F], the statements concerning Mr.

   Clowdus’s face and facial expressions were removed. There are only three possible conclusions

   that can be drawn from this change: either (1) AA prepared the draft without first speaking with

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   Mr. Quintana, which seems unlikely given the detail and specificity of the draft and the fact that

   AA testified it interviewed the passengers first; (2) Mr. Quintana told them to remove the

   statements, in which case they would have known he had lied to them and have an obligation to

   inform the court; or (3) AA removed those statements from his declaration because it knew they

   were not truthful since Mr. Clowdus’s was required to wear a CDC mandated mask. Under any

   of these scenarios, AAs conduct is troubling. 1

          Additionally, and of equal concern, are the blatant inconsistencies between Mr.

   Quintana’s declaration, which he signed under penalty of perjury, and his deposition testimony.

   For instance, in his declaration, Mr. Quintana stated that “he could not hear what was being

   discussed between the Male Passenger and the flight attendant.” However, when it came time

   for his deposition, he miraculously grew a pair of ears:

          MR. WOODROW: Okay. So the first interaction you heard with this flight attendant,
          did he say anything about a bag or was it just about the mask?

          MR. QUINTANA: The first—the first one I heard—I could hear other things after, but
          I was – I was specifically looking at him to –do the pantomime of the mask. So I was – I
          was listening for those words. So yeah, I – the first one I , for sure heard him say,
          “Please put on your mask sir.”




   1
    The declaration of Elja Keizer, another passenger, raises similar concerns. In what appears to
   be the original, unsigned draft of Mr. Keizer (AA00124-125)[Exh. G], ¶9 of the statement says,
   “No flight attendant or any other AA employee or official ever spoke loudly or aggressively to
   this Male Passenger,” and paragraph 12 states, “Throughout the entire flight, including in my
   interactions with them, I would describe the flight attendants’ behavior as courteous, calm, and
   professional.” However, in Mr. Keizer’s signed declaration (AA00122-00123)[Exh. H], ¶9
   includes the qualifier “To my knowledge” and the flight attendants’ behavior is described merely
   as “normal.” While the changes to Mr. Keizer’s declaration are certainly more benign, they also
   suggest an attempt by AA to put words in the witness’s mouth, particularly since the same exact
   words –courteous, calm and professional—were used to describe the flight attendants in other
   passenger declarations.


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           See Deposition Transcript of Federico Quintana [“Quintana Dep.”][Exh. I], pp. 65, ll. 6-

   14; (emphasis added); see also Quintana Dep., pps. 67, ll. 1-4 (“this second time the instructions

   were, ‘Please put on your face mask. And sir, I’m going to need to put that – I’m going to need

   you to put that carry-on on –on the overhead bin’”); pp. 71, ll. 12-15 (MR: WOODROW: And

   so to the best of your recollection, what were the precise words of that exchange as it played

   out? MR. QUINTANA: “I – I’m –I’m going to need you to –to—to stow the bag on the

   overhead bins.”)(emphasis added).

           Similarly, Mr. Quintana swore in his declaration that a few minutes after he was seated,

   he noticed Mr. Clowdus “ seated in the first row, window seat, on the right side of the plane

   (when facing forward), speaking aggressively with the flight attendant . . .” (Exh. F,

   ¶6)(emphasis added). However, in his deposition he testified that he was “positive Mr. Clowdus

   was in an aisle seat.” Exh. I, pp. 10, ll. 21-23; p. 103, ll. 4-7 (“The seat next to him was empty,

   and I remember him sitting on the aisle seat. If you’re saying that his assigned seat was the

   window one, then he wasn’t using that one.”)(emphasis added), and that he never heard Mr.

   Clowdus say anything:

          MR. WOODROW: You didn’t hear him say any – did you hear any words come out of
          his mouth at any point during that –during his time aboard the plane?

          MR. QUINTANA: Are we speaking about the passenger?

          MR. WOODROW: The passenger, yes.

          MR. QUINTANA: No, I didn’t.

          See also Exh. I, p. 98, ll. 16-25 (“I believe you’ve testified that you never heard the

   passenger speak. . . .“Yeah. I –I—I never heard the passenger speak.”); pp. 67-68 (stating that he

   could not speak to whether Clowdus was angry when he saw him interact with Merino).




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           Perhaps most notably, in his declaration, Mr. Quintana says nothing about Mr. Clowdus

   being asked by Mr. Merino to put on his mask. Yet during his deposition, he had a distinct

   recollection that Mr. Merino asked him repeatedly to put on his mask, something even Mr.

   Merino did not testify to. Although AA would certainly not be responsible for Mr. Quintana

   perjuring himself in his deposition if it had not directed or coached him to do so–which Clowdus

   does not have evidence of and is not claiming—the stark discrepancy between the statement in

   his declaration and his deposition testimony on what is unquestionably a material fact raises

   questions which cry out for an answer as to whether AA knew he was being untruthful and what

   steps, if any, they took to advise the court. 2 See Nix v. Whiteside, 475 U.S. 157, 168-169, 106

   S.Ct. 988, 89 L.Ed. 2d 123 (1986)(“The special duty of an attorney to prevent and disclose

   frauds upon the court derives from the recognition that perjury is as much a crime as tampering



   2
    The situation with Mr. Quintana is all the more troubling given AAs delay in providing
   Clowdus’s counsel with Mr. Quintana’s contact information. On November 10, 2021, Clowdus
   served AA with his First Request for Production, seeking contact information for all business
   class passengers and his First Interrogatories seeking the same, as well the further identification
   of individuals with knowledge of relevant facts. On December 17, 2021, AA responded to
   Clowdus’s First Request for Production by refusing to provide contact information for business
   class passengers, although Clowdus had given AA a 7-day extension on its discovery response to
   ensure that a protective order was first in place for this purpose. (Exhibits J, K) AA
   simultaneously responded to Clowdus’s First Interrogatories by identifying Mr. Quintana among
   three passengers with “knowledge of relevant facts,” providing some addresses for identified
   passengers but no address for Mr. Quintana or Mr. Espinoza. Exhibit L. On January 5, 2022,
   counsel for the parties met and conferred, at which time AA agreed to provide phone numbers
   for each passenger. Exhibit M. However, AA did not provide Clowdus’s counsel with the phone
   numbers for the passengers until January 12, 2022 – the same day that it received Quintana’s
   signed statement. Exhibits N, O. It also provided Clowdus with an incorrect phone number for
   Mr. Espinoza. On February 10, 2022, Clowdus went back to AA and requested email addresses
   for the passengers. Exhibit P. AA agreed to provide them on February 23, 2022. Exhibit Q. On
   February 24, 2022, AA served its Fourth Amended Disclosures, which contained an incorrect
   email address for Mr. Quintana and no email address for Mr. Espinoza. Exhibit R. On March 1,
   2022, AA obtained a signed statement from Mr. Espinoza. Exhibit S. The following day, AA
   served its Fifth Amended Disclosures, in which for the first time it provided the correct e-mail
   address and phone number for Mr. Espinoza. Exhibit T.


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   with witnesses or jurors by way of promises and threats, and undermines the administration of

   justice.”)

                                              ARGUMENT

                 THIS COURT SHOULD IMPOSE SANCTIONS ON
            AA AND ITS COUNSEL FOR INTENTIONALLY FLOUTING
                 MAGISTRATE JUDGE LOUIS’S INSTRUCTIONS
      REGARDING INFLUENCING THE TESTIMONY OF NON-PARTY WITNESSES

           It is beyond peradventure that federal courts have the power, by statute, rule, and

   common law to impose sanctions against recalcitrant lawyers and parties. Carlucci v. Piper

   Aircraft Corp., Inc., 775 F.2d 1440, 1446 (11th Cir. 1985); Collar v. Abalux, Inc., 2018 WL

   3328682 (S.D. Fla, July 5, 2018), at *9. “While the law may demand zealous advocacy on the

   part of an attorney, it cannot condone attorneys demeaning themselves and the judicial

   process[.]” Carlson v. Bosem, No. 04-61004-CIV, 2007 WL 1496693, at * 5 (S.D. Fla, Apr. 9,

   2007), aff’d, 298 F. App’x 861 (11th Cir. 2008).

           The Eleventh Circuit has held that Rule 37 (b) permits the court to impose sanctions on a

   party if they willfully of in bad faith fail to obey a discovery order. Malautea v. Suzuki Motor

   Co., Ltd., 987 F.2d 1536, 1542-43 (11th Cir. 1993). Sanctions may include awarding attorney’s

   fees against the offending party, striking pleadings in whole or in part, rendering a default

   judgment against the disobedient party, or issuing a finding of contempt. Rule 37(b)(2)(A). A

   finding of bad faith may be demonstrated by “delaying or disrupting the litigation, or hampering

   enforcement of a court order.” In re Walker, 532 F.3d 1304, 1309 (11th Cir. 2008)(emphasis

   added). The purpose of sanctions under Rule 37 is not only to prevent unfair prejudice to the

   litigants but also to ensure the integrity of the discovery process. Aztec Steel Co. v. Fla Steel

   Corp., 691 F.2d 480, 482 (11th Cir. 1982); Goforth, 766F.2d at 1535 (district court did not abuse

   its discretion in dismissing case where party deliberately refused to comply with directions of the

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   court). Although the striking of pleadings is not justified if a party’s failure to comply with a

   court order was the result of simple negligence or a misunderstanding, if the party does not

   provide a “credible explanation of how he interpreted an order . . . the party’s unsupported

   assertion that it misunderstood the order is insufficient. Id. at 1543; accord, Betty K Agencies,

   Ltd. v. M/V Monada, 432 F.3d 1333, 1338 (11th Cir. 2005)(the striking of pleadings may be

   imposed where a party engages in willful contempt or contumacious conduct, and the district

   court specifically finds that lesser sanctions would not suffice). Furthermore, while the striking

   of a party’s pleadings is appropriate only as a last resort when less drastic sanctions would not

   ensure compliance with the court’s orders, a court is not required to first impose lesser sanctions

   if the lesser sanction would be ineffective. Id. at 1544. The finding that lesser sanctions would

   not suffice may be implicit or explicit. Gratton v. Great Am. Commc’ns, 178 F.3d 1373, 1374

   (11th Cir. 1999); Zocaras v. Castro, 465 F.3d 479, 484 (11th Cir. 2006).

          Additionally, Rule 41 (b) authorizes a district court to dismiss a complaint for a party’s

   failure to comply with a court order or the federal rules. Goforth v. Owens, 766 F.2d 1533, 1535

   (11th Cir. 1985). As with Rule 37, the striking of pleadings under Rule 41 (b) is appropriate only

   where there is a clear record of “willful” contempt and an implicit or explicit finding that lesser

   sanctions would not suffice. Gratton v. Great American Communications, 178 F.3d 1373, 1375

   (11th Cir. 1999). Although Rule 41 (b) refers to dismissal of a plaintiff’s complaint, as opposed

   to the striking of a defendant’s pleadings, district courts have applied the same analysis to the

   striking of pleadings and entry of a default against a defendant as they have to dismissing a

   plaintiff’s complaint. Holland v. Westside Sportsbar & Lounge, Inc., 2020 WL 7390723 (M.D.

   Fla., Aug. 11, 2020), at * 2-3; Tine v. Boca Leche, Inc., 2015 WL 13777476 (S.D. Fla., June 25,

   2015), at *; In re: Noso, Inc., 2007 WL 809658 (M.D. Fla., March 15, 2007), at * 1; Coupling



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   Solutions v. Davidson, 2012 WL 12868743 (S.D. Fla, Nov. 8, 2012), at * 1-2; Pharma Funding,

   LLC v. FLTX Holdings, LLC, 2020 WL 8084174 (S.D. Fla, Dec. 28, 2020), at * 3 (striking

   defendant’s pleadings for failing to comply with court orders); Adolph Coors Co. v. Movement

   Against Racism and the Klan, 777 F.2d 1538. 1543 (11th Cir. 1985)(where defendants made clear

   they would not comply with court order, only effective remedy was entry of a default judgment);

   KLX, Inc. v. Your Container Solutions, Inc., 2018 WL 6978698 (S.D. Fla, Nov. 15, 2018), at * 3-

   4 (striking defendant’s pleadings for failure to comply with court order); Mitchel v.

   VegasSportsConsultants.com, 2019 WL 3426038 (S.D. Fla, May 23, 2019), at * 5 (entering

   default judgment against defendant for willful failure to comply with court orders); Inmuno Vital,

   Inc. v. Telemundo Group, Inc., 203 F.R.D. 561, 573 (S.D. Fla. 2001)(prejudice to the plaintiff an

   important consideration in the determining whether lesser sanction would suffice).

          Finally, the Court has inherent authority to sanction counsel and parties for their actions.

   Chambers v. Nasco, Inc., 501 U.S. 32, 43 (1991). This authority is based, in part, on courts’

   inherent need to effectively manage the cases before them, and secure the proper functioning of

   the judicial system, by promoting parties’ compliance with court orders, judgments, and

   procedures. Id. The key to a finding of sanctions pursuant to the court’s inherent authority is

   bad faith. Peer v. Lewis, 606 F.3d 1305 (11th Cir. 2010). While the rules and statutes permitting

   the imposition of sanctions may only reach certain individuals or conduct, “the inherent power

   extends to a full range of abuses and “exist[s] to fill in the interstices.” Id. at 1314. Moreover,

   “if in the informed discretion of the court, neither the statute nor the Rules are up to the task, the

   court may safely rely on its inherent power to sanction bad faith conduct in the course of

   litigation.” Bertin v. Zadok Real Estate Holdings, LLC, 2012 WL 13012463 (S.D. Fla., Feb. 3,

   2012), at *11; Kleiner v. First Nat’l Bank of Atlanta, 751 F.2d 1193, 1209-10 (11th Cir.



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   1985)(upholding a $50,000 fine against counsel for intentional misconduct imposed by district

   court under its inherent power to sanction attorneys practicing before it).

          A.      Sanctions are warranted in this case because AA and its counsel willfully
                  disregarded the Court’s instructions regarding influencing testimony of non-
                  party witnesses.

          At the hearing on May 24, 2022, Magistrate Judge Louis could not have been clearer:

   she did not want any communications with unrepresented non-party witnesses that gave either

   party’s version of the facts. She made clear that such communications were improper and that

   she did not want to see any communications that did so in the future from either side. The

   attorneys for both parties were present and clearly understood what she was saying – namely,

   that any communications with unrepresented witnesses remain entirely neutral. Yet within less

   than two weeks of the hearing, lawyers for AA blatantly disregarded this admonition and

   proceeded to send text messages to Mr. Ramirez stating that Clowdus “inexplicably reacted in a

   violent manner” by “throwing his laptop on one of the flight attendants,” that the flight attendant

   had been “injured” and had “filed charges against the person who hurt [him].” See Exh A. He

   also went on to ask him to give a deposition “since it is important that justice is done in this

   matter and your testimony is decisive,” and asked him to meet with the president of his law firm

   so they could speak “calmly” about the incident. Id.

          Even if Magistrate Judge Louis’s instructions were ambiguous—which they plainly were

   not—there is no conceivable way this text message can be read as a neutral communication that

   presents an impartial version of the facts. Mr. Clowdus’s conduct, according to the text message,

   was inexplicable and violent. He did not hand or pass his bag to the flight attendant. He threw it

   with sufficient force that it injured Mr. Marino and resulted in him filing charges against Mr.

   Clowdus.



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            Moreover, these were not communications casually prepared by an administrative

   assistant or someone without knowledge of the case. On the contrary, they were sent by an

   attorney from “one of the most prestigious Foreign Investment Legal Firms in Mexico 3” who

   was working in conjunction with Buchanan, Ingersoll & Rooney, P.C., “an important legal firm

   in Fort Lauderdale which represents American Airlines in the state of Florida.” Mr. Fernandez

   also made clear that he was contacting Mr. Ramirez “[a]t the request of the legal firm Buchanan,

   Ingersoll & Rooney, P.C.,” to request his cooperation “in carrying out justice.” It is difficult to

   imagine how a 24-year-old Mexican would not feel intimidated by such a text, particularly when

   he had previously spoken with a representative from American several months earlier and

   declined to execute the declaration it prepared because it did not accurately reflect what he had

   told them. Ex. C.

            Perhaps most significantly, had Mr. Ramirez not sent the text messages to Clowdus’s

   investigator, neither Clowdus or the Court would have ever been the wiser. And although they

   were not in existence at the time of the hearing, one thing is certain: they are not “innocuous.”

   See Trans., pp. 30, l. 10.

            B.     Sanctions are warranted in this case because AA and its counsel misled the
                   Court during the May 24, 2022 hearing about its attempts to influence non-
                   party witnesses.

            In addition, sanctions are also warranted because American misled the court during the

   May 24, 2022 hearing about the manner in which it communicated with non-party witnesses.

   American did not simply accuse Mr. Clowdus’s counsel at the hearing of making improper

   statements in his communications with Ms. Cookson and Mr. Quintana. It affirmatively

   represented that when a non-party witness did not want to involve himself in a lawsuit, it



   3
       See www.velardedenache.com/about/ [Exh. U]
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   “backed away.” The texts from Mr. Fernandez and the June 8, 2022 e-mail from Mr. Hernandez,

   however, demonstrate this is untrue. American contacted Mr. Hernandez in February, 2022 and

   asked him to sign a written statement about what he witnessed. When he didn’t do so because it

   did not accurately reflect what they told him, however, they did not “back away.” Instead, they

   doubled down on their attempts to induce him into providing a deposition by portraying Clowdus

   as a villain and the flight attendant as an injured victim deserving justice, all the while

   maintaining to the court that they were the paragon of neutrality when they were anything but.

   It also potentially explains why Magistrate Judge Lewis came away from Mr. Quintana’s

   deposition with a sense that he was “spring-loaded to cater to American’s point of view.” Exh I.,

   p. 8, ll. 16-17.

           This, of course, makes AA’s delay in providing Clowdus with the contact information for

   the passengers all the more troubling. Viewed in a vacuum, AAs failing to provide Mr.

   Quintana’s phone number and e-mail address until the day after they obtained a signed statement

   from him and failing to provide the correct number and e-mail address to Mr. Espinoza until they

   obtained a signed statement from him could be viewed as inadvertent. But when coupled with

   all of AA’s other actions, including brazenly ignoring the Court’s instructions not to influence

   the testimony of non-party witnesses and changing material facts in Mr. Quintana’s statement, it

   is difficult to simply view these actions as mere coincidences.

           C.         No lesser sanction than the striking of AA’s pleading will be effective.

           Were this simply a situation of “no harm, no foul,” the Court could impose a monetary

   sanction on AA for disregarding its clear directive, or award Clowdus his attorneys fees. The

   problem is that because of the manner in which AA handled Mr. Ramirez, he is now reluctant to

   testify about what he observed, which is not consistent with Mr. Marino’s version of events. It



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   also calls into question the veracity of Mr. Quintana’s testimony, which even the magistrate

   found baffling. And it raises the question of what other prejudicial communications AA may

   have had with the other witnesses similar to those of Mr. Fernandez that Clowdus is unaware of.

                                             CONCLUSION

          Although the circumstances surrounding Mr. Quintana’s deposition and the other

   passenger statements are unclear, two things are certain: (1) AA and its counsel were aware as of

   May 24, 2022 that any communications with non-party passenger witnesses were required to be

   neutral so as not to taint their testimony. Yet despite being clearly and unambiguously told that

   by Magistrate Louis, AA and its counsel sent text messages less than two weeks later to at least

   one witness that flagrantly disregarded this order; and (2) AA’s counsel told the court that it

   would never attempt to influence or pressure a non-party passenger witness. Yet less than two

   weeks later, they did precisely that. In light of these serious violations, as well as the other

   issues outlined in this motion, Mr. Clowdus requests this Court impose sanctions on Defendant

   AMERICAN AIRLINES, INC. and its counsel, including but not limited to: (1) imposing

   monetary sanctions, including attorney’s fees, against AA and its counsel; (2) striking the

   testimony of Mr. Quintana; (3) precluding AA from using any passenger depositions or

   statements at trial and prohibiting any passengers with whom it had contact from testifying at

   trial; and (4) striking AA’s defenses and entering a default judgment on liability against AA.

                               CERTIFICATE OF GOOD FAITH
                           CONFERENCE WITH OPPOSING COUNSEL

          Pursuant to Local Rule 7.1(a)(3), I hereby certify that I conferred with Kelly Kolb,

   counsel for Defendant American Airlines, Inc., on June 16, 2022 to resolve the issues that are the

   subject of this motion, but could not reach an agreement.




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                                                Respectfully Submitted,

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                                   CERTIFICATE OF SERVICE

          The undersigned hereby certifies that all counsel of record who are deemed to have

   consented to electronic service are being served with a copy of this document via the Court’s

   CM/ECF system and plaintiff was served by U.S. Mail at the address on file with the Court on

   June 16, 2022.

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